 Case 2:21-cv-13741-WJM-JBC Document 1 Filed 07/16/21 Page 1 of 4 PageID: 1



File No. 202480
               IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
JORGE WILSON AND VIRGINIA WILSON,

                        Plaintiffs,                 CIVIL ACTION No.
                  v.

PETER M. ALBER, WERNER
ENTERPRISES, INC., JOHN DOE 1-10
and/or ABC/XYZ COMPANY 1-10 (said
names being fictitious)

                         Defendants.

                                       NOTICE OF REMOVAL

          TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW JERSEY:

          Removing Defendant, Werner Enterprises, Inc., by and through its attorneys, Salmon

Ricchezza Singer & Turchi, LLP, respectfully avers as follows:

          1.      At all material times, plaintiffs, JORGE WILSON AND VIRGINIA WILSON,

were and are citizens of the State of New York. (See Plaintiffs’ Complaint attached as Exhibit

“A”)

          2.      At all material times, defendant, Peter M. Alber, is a citizen of the state of New

York.

          3.      At all material times, Removing Defendant, Werner Enterprises, Inc., is a

corporation organized and existing under the laws of the State of Nebraska with a principal place

of business in Omaha, Nebraska.

          4.      This action arises out of a motor vehicle accident that occurred on or about

8/21/19 on I-287 southbound in the Borough of Wanaque, County of Passaic, State of New

Jersey. Plaintiffs, Jorge Wilson and Virginia Wilson (“Plaintiffs”), filed a Complaint in the



{J0695276.DOCX}
 Case 2:21-cv-13741-WJM-JBC Document 1 Filed 07/16/21 Page 2 of 4 PageID: 2




Superior Court of New Jersey, Passaic County on or about 7/1/21 which was docketed as PAS-L-

2122-21. (See Exhibit “A”).

          5.   This “Snap” Removal is being timely filed as Removing Defendant was served on

or about 7/13/21 and defendant, Peter M. Alber, upon information and belief, has not yet been

served. Therefore, removal is permissible. See Encompass Ins. Co. v. Stone Mansion Rest. Inc.,

902 F.3d 147 (3d Cir. 2018).

          6.   Although Plaintiff’s Complaint does not contain an addendum clause, the

complaint alleges plaintiffs “were caused to suffer serious bodily injuries and emotional distress

of a permanent nature, were unable to return to their normal activities, and were obliged to

expend monies for medical and hospital treatment in an effort to cure themselves of said injuries,

and will in the future be compelled to expend large sums of money in an effort to alleviate said

injuries, and sustained pain and suffering and suffered economic losses. (See Exhibit A at ¶¶ 6).

          7.   Further, pre-suit settlement demands of $125,000 (Victoria) and $50,000 (Jorge)

have been made by counsel for plaintiffs. (See email from counsel to Removing Defendant

attached as Exhibit “B”)

          8.   If a Complaint does not allege a specific amount of damages, it is removeable if

the removal petition contains a plausible allegation that the amount in controversy exceeds the

jurisdictional threshold. Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554

(2014.)

          9.   In the absence of specific allegations of injury, categories of damages plausibly

establish the amount in controversy. See Raspa v. Home Depot, 533 F. Supp. 2d 514, 521-522

(D.N.J. 2007) (plaintiff’s unopposed motion for remand was denied when the plaintiff alleged




{J0695276.DOCX}
 Case 2:21-cv-13741-WJM-JBC Document 1 Filed 07/16/21 Page 3 of 4 PageID: 3




unspecified personal injuries as the result of having been bitten by a raccoon on defendants’

premises.)

       10.     As such, an amount in controversy exceeds the jurisdictional threshold of

$75,000, exclusive of interest and costs, required by 28 U.S.C. § 1332(a).

       11.     Diversity of citizenship within the meaning of 28 U.S.C. § 1332 exists between

the Plaintiff and Defendants because:

               a. Plaintiffs are citizens of the State of New York;

               b. Removing Defendant, Werner Enterprises, Inc., is a corporation organized

                  under the laws of the State of Nebraska with its principal place of business in

                  the State of Nebraska; and

               c. Defendant, Peter M. Alber, was and is a citizen of the State of New York.

12.    Diversity of citizenship existed at the time the action sought to be removed was

commenced and continues through the time of filing this notice, such that defendant is entitled to

removal pursuant to 28 U.S.C. § 1441, as amended, and 28 U.S.C. § 1446.

       WHEREFORE, Removing Defendant, Werner Enterprises, Inc., prays that the above-

captioned action now pending in the Superior Court of New Jersey, Passaic County, be removed

therefrom to this Honorable Court.

                                             SALMON RICCHEZZA SINGER & TURCHI,
                                             LLP

                                             By: ______/s/__________________________
                                                   Jeffrey A. Segal, Esquire
                                                   123 Egg Harbor Road, Suite 406
                                                   Sewell, NJ 08080
                                                   Attorneys for Defendant
                                                   Werner Enterprises, Inc.

       Dated: 7/16/21



{J0695276.DOCX}
 Case 2:21-cv-13741-WJM-JBC Document 1 Filed 07/16/21 Page 4 of 4 PageID: 4




                                CERTIFICATE OF SERVICE


       It is hereby certified that a true and correct copy of the within captioned Notice of

Removal was served via first class mail, postage prepaid on the below counsel for plaintiffs:

                                   Neil S. Weiner, Esquire
                               Lynch Lynch Held Rosenberg, PC
                                  440 State Route 17 North
                                 Hasbrouck Heights, NJ 07604
                                    Counsel for Plaintiffs


                                                    ______/S/________________________
                                                    Ashley Steinberg, Legal Assistant to
                                                    Jeffrey A. Segal, Esquire

Dated: 7/16/21




{J0695276.DOCX}
